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                                                                                                                                            UNITED STATES DISTRICT COURT
                                                                                                                                            EASTERN DISTRICT OF MICHIGAN
                                                                                                                                                 SOUTHERN DIVISION


                                                                                                                            IN RE: FCA US LLC MONOSTABLE
                                                                                                                            ELECTRONIC GEARSHIFT
                                                                                                                            LITIGATION                          Case No: 16-md-02744
                                                                                                                                                                Honorable David M. Lawson
                                                                                                                                      MDL No. 2744              Magistrate Judge David R. Grand
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                                                                                                                            ________________________________/


                                                                                                                            FCA US LLC’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO SEAL
                                                                                                                            CERTAIN DOCUMENTS AND INFORMATION IN AND ATTACHED TO
                                                                                                                            PLAINTIFFS’ RESPONSES TO FCA US LLC’S MOTIONS TO EXCLUDE
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                                                                                                                                  Plaintiffs’ Response is based on blatant misquotations of Sixth Circuit case

                                                                                                                            law, bald assertions regarding FCA US LLC’s (“FCA US”) business practices, and

                                                                                                                            an incorrect summary of the breadth of the document that FCA US seeks to

                                                                                                                            maintain under seal. FCA US has demonstrated compelling reasons for closure,

                                                                                                                            namely, that the Lextant report details the factors, methodologies, and strategies
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                                                                                                                            FCA US employs when designing and selecting complex vehicle componentry,

                                                                                                                            and the specific approach Lextant Corp. takes when performing studies for its

                                                                                                                            clients. Further, the Lextant report is based on information, preferences and goals

                                                                                                                            regarding FCA US’s dealings with suppliers that FCA US’s competitors are not

                                                                                                                            privy to. Moreover, the Lextant report contains analyses and assessments of a

                                                                                                                            specific product of a third party competitor of FCA US, about which FCA US’s

                                                                                                                            competitors are not aware. As a result, the report’s disclosure would create a

                                                                                                                            clearly defined and serious injury to both FCA US and third-party Lextant Corp.

                                                                                                                            FCA US has also demonstrated that closure will not unduly burden the public

                                                                                                                            interest in accessing court records. Therefore, this Court should grant FCA US’s

                                                                                                                            Motion to Seal.

                                                                                                                                  Plaintiffs rely on Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan for

                                                                                                                            the proposition that:

                                                                                                                                         “Competitively-sensitive financial and negotiating
                                                                                                                                         information” is an inadequate reason for sealing a
                                                                                                                                         document. “‘Financial and negotiation information’ is not
                                                                                                                                         entitled to protection as a legitimate trade secret.”


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                                                                                                                            Pls.’ Resp. at 4 (quoting Shane Grp. v. Blue Cross Blue Shield of Michigan, 825

                                                                                                                            F.3d 299, 307-08 (6th Cir. 2016)). However, Plaintiffs misquoted Shane by

                                                                                                                            omitting the full sentence without the proper use of ellipses. Shane actually says

                                                                                                                            “financial and negotiating information about a practice since outlawed by the

                                                                                                                            Michigan Legislature is not entitled to protection as a legitimate trade secret.”
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                                                                                                                            Shane Grp., 825 F.3d at 308 (emphasis added to Plaintiffs’ omission). In other

                                                                                                                            words, Shane did not even come close to announcing a general rule that the

                                                                                                                            competitively-sensitive nature of “financial and negotiating information” is

                                                                                                                            insufficient to justify closure, or that such information “is not entitled to protection

                                                                                                                            as a legitimate trade secret.” Indeed, competitively-sensitive financial and

                                                                                                                            negotiation information has long been recognized as deserving of both closure and

                                                                                                                            trade secret protection, and such recognition is undisturbed by Shane.

                                                                                                                                  Plaintiffs’ argument that FCA US’s motion should be denied because its

                                                                                                                            request to seal is not narrowly tailored is also unavailing. In fact, courts in the

                                                                                                                            Sixth Circuit have held that Shane is distinguishable in situations where a movant

                                                                                                                            seeks to seal a single document, as is the case here. See Netjets Ass’n of Shared

                                                                                                                            Aircraft Pilots v. NetJets, Inc., No. 2:14-cv-2487, 2016 U.S. Dist. LEXIS 130837,

                                                                                                                            *4 (S.D. Ohio Sept. 23, 2016) (“Plaintiff's argument asks too much of the authority

                                                                                                                            on which it relies. Unlike [Shane], this case involves a small amount of




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                                                                                                                            information from one document that has been redacted and sealed from the public

                                                                                                                            view.”) (Unpublished cases attached as Exhibit A).

                                                                                                                                   In Shane, the Sixth Circuit Court of Appeals addressed “whether the district

                                                                                                                            court abused its discretion when … it sealed from public view most of the court

                                                                                                                            filings and exhibits that underlay the proposed settlement in this case.” Shane Grp.,
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                                                                                                                            825 F.3d at 304-05. Specifically, the district court sealed various filings, including

                                                                                                                            194 exhibits. See 825 F.3d at 308. The material fully under seal included a motion

                                                                                                                            for class certification and all 90 of its exhibits, along with the response brief and its

                                                                                                                            42 exhibits. Id. at 303, 306. It also included the entire report of class counsel’s

                                                                                                                            damages expert. Id. at 303-04. That is a far cry from the instant situation, where

                                                                                                                            FCA US seeks to seal one report created by a third-party.

                                                                                                                                  Another case relied upon by Plaintiffs, Rudd Equip. Co. v. John Deere

                                                                                                                            Constr. & Forestry Co., 834 F.3d 589 (6th Cir. 2016), is similarly distinguishable.

                                                                                                                            There, the court, much like in Shane, dealt with an entirely sealed docket, which

                                                                                                                            concealed everything about the case, including its “mere existence.” Rudd, 834

                                                                                                                            F.3d at 594-95. In fact, the Rudd court actively noted that its holding was factually

                                                                                                                            distinct from a situation where “the sealing order… applied only to two

                                                                                                                            documents.” Id. Furthermore, the proponent of sealing in Rudd failed to “point to

                                                                                                                            any trade secret, or privacy right of third parties, that a seal might legitimately

                                                                                                                            protect.” Id. at 594. Here, as stated above, FCA US only seeks to seal one



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                                                                                                                            document, and FCA US has pointed to both its own trade secrets and the privacy

                                                                                                                            interests of third-party Lextant Corp. as being at risk for disclosure if the Lextant

                                                                                                                            study is not sealed. Therefore, Rudd is distinguishable.

                                                                                                                                  Plaintiffs’ misconstrue Shane a second time by arguing that FCA US has no

                                                                                                                            basis for notifying this Court that Lextant Corp. has an interest in sealing the
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                                                                                                                            Lextant report. Plaintiffs state that “Shane held with respect to a third party, ‘there

                                                                                                                            is no statutory or regulatory privilege that protects their information from

                                                                                                                            disclosure.’” Pls.’ Resp. at 8 (Shane Grp., 825 F.3d at 308). However, that

                                                                                                                            quotation from Shane is not nearly as far-reaching as Plaintiffs imply. The full

                                                                                                                            sentence reads: “Here, as to the third-party hospitals, there is no statutory or

                                                                                                                            regulatory privilege that protects their information from disclosure, and the

                                                                                                                            particulars of years-ago negotiations are unlikely to amount to a trade secret.”

                                                                                                                            Shane Grp., 825 F.3d at 308. Thus, Shane does not stand for the proposition that a

                                                                                                                            court may only seal third-party information on the basis of a statutory or regulatory

                                                                                                                            privilege. Rather, the case merely states that in that instance there was no statutory

                                                                                                                            or regulatory privilege at play, which happened to be one of the factors supporting

                                                                                                                            the court’s conclusion that the information was protected from disclosure.

                                                                                                                                  The Lextant report is appropriate for sealing because the report contains

                                                                                                                            descriptions of Lextant Corp.’s own experimental methodologies and data, as well

                                                                                                                            as data about a third-party competitor of FCA US to which it is not privy. In fact,



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                                                                                                                            the Lextant report is protected by a confidentiality agreement between FCA US

                                                                                                                            and Lextant Corp. The Lextant report also contains confidential information

                                                                                                                            pertaining to the methods non-party Lextant Corp. uses to perform analysis and

                                                                                                                            prepare work product for its clients. As a result, disclosure of the Lextant-related

                                                                                                                            materials would give Lextant’s own competitors access to its proprietary methods
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                                                                                                                            that would otherwise only be available to Lextant’s clients. Further, the Lextant

                                                                                                                            report plainly contains commercially sensitive information, including analyses and

                                                                                                                            assessments about the product of FCA US’s competitor, that, if disclosed, will

                                                                                                                            harm FCA US. Courts routinely permit redacted and under seal filings to protect

                                                                                                                            the type of confidential and commercially sensitive information at issue here. See,

                                                                                                                            e.g., Cincinnati Ins. Co. v. Richfield Corp., No. 2:16-cv-1432, 2017 U.S. Dist.

                                                                                                                            LEXIS 218021 (E.D. Mich. Aug. 16, 2017) (granting motion to seal for

                                                                                                                            “confidential documents containing commercially sensitive information that, if

                                                                                                                            filed publicly, could harm the business interests of General Motors and other

                                                                                                                            businesses in the automotive industry with which it contracts”); see also Med. Ctr.

                                                                                                                            at Elizabeth Place, LLC v. MedAmerica Health Sys. Corp., No. 12-cv-26, 2012

                                                                                                                            U.S. Dist. LEXIS 86673, at *2-3 (S.D. Ohio June 22, 2012) (sealing confidential

                                                                                                                            business information because it “could be used by Defendants’ competitors in an

                                                                                                                            effort to gain strategic advantage” if disclosed)




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                                                                                                                                  The impact of disclosure on Lextant, standing alone, is a sufficient basis to

                                                                                                                            seal the document and permit redaction of the limited references to the document

                                                                                                                            contained in other pleadings. See Shane Grp., 825 F.3d at 308 (“the privacy

                                                                                                                            interests of innocent third parties should weigh heavily in a court’s balancing

                                                                                                                            equation”). Preventing “harm to third parties whose only involvement in the case is
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                                                                                                                            business dealings with the defendant is a sufficiently justifiable reason to seal the

                                                                                                                            records.” Kentucky v. Marathon Petro. Co. LP, No. 3:15-CV-354-DJH , 2018 U.S.

                                                                                                                            Dist. LEXIS 106176, *22 (W.D. Ky. June 26, 2018) (citing In re Knoxville News-

                                                                                                                            Sentinel Co., Inc., 723 F.3d 470 (6th Cir. 1983)). Here, Lextant Corp.’s only

                                                                                                                            involvement in this action is through its business dealings with FCA US.

                                                                                                                                  Furthermore, Plaintiffs’ assertion that FCA US has not shown “that it has

                                                                                                                            any right to even assert such a claim on behalf of Lextant Corp.” is misplaced and

                                                                                                                            perplexing. Pls.’ Resp. at 5. FCA US is not trying to enforce rights on behalf of

                                                                                                                            Lextant Corp. Rather, FCA US is simply making the court of aware of innocent

                                                                                                                            third-party rights that may be implicated by the motion to seal, which it is required

                                                                                                                            to do under the local rules. See E.D. Mich. Local Rule 5.3. (requiring motions to

                                                                                                                            seal to contain a “description of any non-party or third-party privacy interests that

                                                                                                                            may be affected if the documents or portions thereof to be sealed were publicly

                                                                                                                            disclosed on the court docket”) (emphasis added).




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                                                                                                                                  Lastly, Plaintiffs fault FCA US for including “portions of documents that are

                                                                                                                            not cited, attached, or otherwise referenced in Plaintiffs’ two Response briefs.”

                                                                                                                            However, FCA US did so out of an abundance of caution. While the Parties

                                                                                                                            convened to discuss confidential information, FCA US ultimately did not receive

                                                                                                                            final confirmation of which pages would be cited. In order to avoid waiving any
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                                                                                                                            argument, FCA US included all references to the Lextant study that Plaintiffs may

                                                                                                                            have conceivably included in their Responses in its Motion to Seal.

                                                                                                                                                                CONCLUSION

                                                                                                                                  For the reasons stated above, and for the reasons stated in its Motion to Seal

                                                                                                                            Certain Documents and Information in and Attached to Plaintiffs’ Responses to

                                                                                                                            FCA US LLC’s Motions to Exclude, FCA US requests that this Court grant its

                                                                                                                            motion to seal.



                                                                                                                                                                 Respectfully submitted,


                                                                                                                                                                  DYKEMA GOSSETT, PLLC

                                                                                                                                                                  By:    /s/ Fred J. Fresard
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                                                                                                                            Dated: March 7, 2019                  Attorneys for Defendant FCA US LLC




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                                                                                                                                                      CERTIFICATE OF SERVICE
                                                                                                                                  I hereby certify that on March 7, 2019, I caused a true and correct copy of

                                                                                                                            the foregoing Reply to be filed and served electronically via the ECF system.

                                                                                                                            Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

                                                                                                                            electronic filing system or by e-mail or first class mail to anyone unable to accept
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                                                                                                                            electronic filing as indicated on the Notice of Electronic Filing.



                                                                                                                            Dated: March 7, 2019                    By:   /s/ Fred J. Fresard
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